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                     EXHIBIT D
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                                          NOTICE OF COMPLETION                                                               L
                                                   AND
                                    AUTHORIZATION TO APPLY THE UL MARK

                                                                                                                             10/30/2012
        Panasonic Corporation Of North America Product Safety & Compliance Div
        Mr. Edward Gotia
        1 Panasonic Way
        4b-8
        Secaucus Nj 07094, Us


        Our Reference:              File MH12210, Vol. 1                          Project Number                 12NK13322
        Your Reference:             PRB2-12-U014
        Project Scope:              PRB2-12-U014, MH12210, LITHIUM-ION CELL BATTERY MODEL NO. NCR18650BB;
                                    CCN:BBCV2

        Dear Mr. Edward Gotia:

        Congratulations! UL's investigation of your product(s) has been completed under the above Reference Number and
        the product was determined to comply with the applicable requirements. This letter temporarily supplements the UL
        Follow-Up Services Procedure and serves as authorization to apply the UL Mark at authorized factories under UL's
        Follow-Up Service Program. To provide your manufacturer(s) with the intended authorization to use the UL Mark,
        you must send a copy of this notice to each manufacturing location currently authorized under File MH12210, Vol. 1.

        Records in the Follow-Up Services Procedure covering the product are now being prepared and will be sent in the
        near future. Until then, this letter authorizes application of the UL Mark for 90 days from the date indicated above.

        Additional requirements related to your responsibilities as the Applicant can be found in the document "Applicant
        responsibilities related to Early Authorizations" that can be found at the following web-site:
        htto://www.ul.com/EAResoonsibilities

        Any information and documentation provided to you involving UL Mark services are provided on behalf of UL LLC
        (UL) or any authorized licensee of UL.

        We are excited you are now able to apply the UL Mark to your products and appreciate your business. Feel free to
        contact me or any of our Customer Service representatives if you have any questions.



        Very truly yours,                                                     Reviewed by:

        Thomas A. Skowera                                                     William R. Carney
        847-664-2086                                                          847/664-1088
        Staff Engineer                                                        Chief Engineer Director I
        Thomas.A.Skowera@ul.com                                               William.R.Carney@ul.com




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